                          Case 4:19-cv-07123-PJH Document 47 Filed 04/10/20 Page 1 of 3



              1      COOLEY LLP
                     MICHAEL G. RHODES (116127) (rhodesmg@cooley.com)
              2      TRAVIS LEBLANC (251097) (tleblanc@cooley.com)
                     KYLE C. WONG (224021) (kwong@cooley.com)
              3      JOSEPH D. MORNIN (307766) (jmornin@cooley.com)
                     101 California Street, 5th floor
              4      San Francisco, CA 94111-5800
                     Telephone: (415) 693-2000
              5      Facsimile: (415) 693-2222

              6      DANIEL J. GROOMS (D.C. Bar No. 219124) (admitted pro hac vice)
                     (dgrooms@cooley.com)
              7      1299 Pennsylvania Avenue, NW, Suite 700
                     Washington, DC 20004-2400
              8      Telephone: (202) 842-7800
                     Facsimile: (202) 842-7899
              9
                     Attorneys for Plaintiffs
            10       WHATSAPP INC. and FACEBOOK, INC.

            11
                                                   UNITED STATES DISTRICT COURT
            12
                                               NORTHERN DISTRICT OF CALIFORNIA
            13
            14
                     WHATSAPP INC., a Delaware corporation,       Case No. 4:19-cv-07123-PJH
            15       and FACEBOOK, INC., a Delaware
                     corporation,                                 WHATSAPP’S ADMINISTRATIVE MOTION
            16                                                    TO SEAL DOCUMENTS RELATED TO
                                                                  WHATSAPP’S MOTION TO DISQUALIFY
            17                       Plaintiffs,                  DEFENSE COUNSEL BASED ON PRIOR
                                                                  REPRESENTATION IN A SEALED MATTER
            18             v.
                                                                  LOCAL RULES 7-11 AND 79-5
            19       NSO GROUP TECHNOLOGIES LIMITED
                     and Q CYBER TECHNOLOGIES LIMITED,            Judge:     Hon. Phyllis J. Hamilton
            20                                                    Date:      None required (L.R. 7-11(c))
                                     Defendants.
            21

            22

            23
            24

            25
            26

            27

            28
  COOLEY LLP
ATTO RNEY S AT LAW
                                                                       WHATSAPP’S ADMINISTRATIVE MOTION TO SEAL
 SAN FRA NCI S CO                                                                    CASE NO. 4:19-CV-07123-PJH
                           Case 4:19-cv-07123-PJH Document 47 Filed 04/10/20 Page 2 of 3



              1             Pursuant to Civil Local Rules 7-11 and 79-5, Plaintiff WhatsApp Inc. (“WhatsApp”) moves

              2      the Court for leave to file under seal in their entirety the following documents:

              3                    WhatsApp’s Motion to Disqualify Defense Counsel Based on Prior Representation in

              4                     a Sealed Matter;

              5                    The Declaration of Jacob Sommer in Support of WhatsApp’s Motion to Disqualify

              6                     Defense Counsel Based on Prior Representation in a Sealed Matter;

              7                    The Declaration of Nitin Gupta in Support of WhatsApp’s Motion to Disqualify

              8                     Defense Counsel Based on Prior Representation in a Sealed Matter;

              9                    The Declaration of Travis LeBlanc in Support of WhatsApp’s Motion to Disqualify

            10                      Defense Counsel Based on Prior Representation in a Sealed Matter;

            11                     Exhibit A to the Declaration of Travis LeBlanc in Support of WhatsApp’s Motion to

            12                      Disqualify Defense Counsel Based on Prior Representation in a Sealed Matter;

            13                     Exhibit B to the Declaration of Travis LeBlanc in support of WhatsApp’s Motion to

            14                      Disqualify Defense Counsel Based on Prior Representation in a Sealed Matter;

            15                     WhatsApp’s Request for Judicial Notice;

            16                     The Proposed Order Granting WhatsApp’s Request for Judicial Notice; and

            17                     The Declaration of Daniel J. Grooms in Support of WhatsApp’s Motion to Seal (the

            18                      “Grooms Declaration”);

            19                     Proof of Service by Daniel J. Grooms.

            20              WhatsApp makes this request because, as detailed in the Grooms Declaration, these documents

            21       contain information that is under seal in another court (the “Prior Matter”).

            22              WhatsApp expresses no opinion as to whether the previously identified documents need to be

            23       sealed in whole or in part in this case but is obligated to refrain from disclosing this information.

            24       Accordingly, WhatsApp moves pursuant to Local Rule 79-5(e) to file the aforementioned documents

            25       entirely under seal until the other party in the Prior Matter has had an opportunity to review the

            26       documents and identify which documents or pieces of information need to be sealed.

            27              Pursuant to Local Rule 79-5(e) and this Court’s Standing Order for Cases Involving Sealed or

            28       Confidential Documents, the other party in the Prior Matter must file with the Court and serve upon
  COOLEY LLP
ATTO RNEY S AT LAW                                                    -1-       WHATSAPP’S ADMINISTRATIVE MOTION TO SEAL
 SAN FRA NCI S CO                                                                             CASE NO. 4:19-CV-07123-PJH
                             Case 4:19-cv-07123-PJH Document 47 Filed 04/10/20 Page 3 of 3



              1       WhatsApp and King & Spalding a declaration establishing that the designated information is sealable,

              2       or must withdraw the designation of confidentiality. 1

              3

              4      Dated: April 10, 2020                           Respectfully submitted,

              5                                                      COOLEY LLP

              6
                                                                     /s/ Michael G. Rhodes
              7                                                      Michael G. Rhodes

              8                                                      Attorneys for Plaintiffs
                                                                     WHATSAPP INC. and FACEBOOK, INC.
              9
            10
            11

            12
            13
            14

            15
                      223665095
            16

            17

            18
            19

            20
            21

            22

            23
            24

            25
            26        1
                        WhatsApp has not served the documents they seek to file under seal on Opposing Counsel. Pursuant
                      to the sealing order from the other court, Defendants are not entitled to see certain information in these
            27        documents. Accordingly, WhatsApp has sought a protective order in this case preventing the
                      Defendants from accessing documents that WhatsApp has sought to file under seal and will serve these
            28        documents on Opposing Counsel once the protective order is issued.
  COOLEY LLP
ATTO RNEY S AT LAW                                                     -2-         WHATSAPP ADMINISTRATIVE MOTION TO SEAL
 SAN FRA NCI S CO                                                                              CASE NO. 4:19-CV-07123-PJH
